        Case:4:22-cv-02783-YGR
        Case  22-15909, 07/13/2022, ID: 12493340,
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                                                                        of 22




                    UNITED STATES COURT OF APPEALS                        FILED
                           FOR THE NINTH CIRCUIT                           JUL 13 2022
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
In re: ANTHONY SCOTT                            No.   22-15909
LEVANDOWSKI,
                                                D.C. Nos.
                                                4:22-cv-02781-YGR
                 Debtor,                        4:22-cv-02783-YGR
______________________________                  4:22-cv-02786-YGR
                                                4:22-cv-02789-YGR
UNITED STATES OF AMERICA, on behalf Northern District of California,
of the Internal Revenue Service,    Oakland

                Plaintiff-Appellant,            ORDER

CALIFORNIA FRANCHISE TAX BOARD,

                Plaintiff-Appellee,

 v.

ANTHONY SCOTT LEVANDOWSKI,
Debtor in Possession; OFFICE OF THE U.S.
TRUSTEE, Trustee,

                Defendants-Appellees.

      Appellant’s motion for voluntary dismissal of this appeal (Docket Entry No.

26) is granted. This appeal is dismissed. See Fed. R. App. P. 42(b).




SH/MOATT
        Case:4:22-cv-02783-YGR
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                                                                        of 22




This order served on the district court shall act as and for the mandate of this court.




                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT


                                                  By: Susan Hidalgo
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7




SH/MOATT                                   2
